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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


ERIN DEGNAN                          :             CIVIL ACTION
                                     :
     v.                              :
                                     :
NATIONWIDE MUTUAL INSURANCE          :             NO. 18-4592
CO., et al.                          :

                                 ORDER

          AND NOW, this 13th day of August, 2019, by agreement

of counsel, it is hereby ORDERED that:

          (1)   Defendant Nationwide Mutual Insurance Co. is

DISMISSED from this action; and

          (2)   All proceedings in this action involving the

remaining defendant Unitrin Direct Property & Casualty Company

are STAYED pending further order of this court.



                                         BY THE COURT:


                                         /s/ Harvey Bartle III
                                                                     J.
